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                        UNITED STATES DISTRICT COURT
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                       CENTRAL DISTRICT OF CALIFORNIA
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      DAVID W. SCONCE,                       Case No. 2:21-cv-05031-ODW-PD
12
                        Plaintiff,
13
            v.
14                                           JUDGMENT
      CENTRAL DISTRICT COURT OF
15    CALIFORNIA, et al.,
16                      Defendants.
17
18         Pursuant to the Order granting Plaintiff’s Request for Voluntary
19    Dismissal,
20         IT IS ADJUDGED that the action is dismissed without prejudice.
21
22    Dated: October 4, 2021.
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24                                         OTIS D. WRIGHT, II
25                                         UNITED STATES DISTRICT JUDGE

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